Case 2:17-cv-00185-LPL Document 50-8 Filed 09/26/18 Page 1 of 8

EXHIBIT H

Case 2:17-cv-00185-LPL Document 50-8 Filed 09/26/18 Page 2 of 8
Case 2117-cv-00185-LPL Document 43-5 Filed 06/29/18 Page 1 of 7

Allegheny County Jail
Inmate Medical Survey Report

  

lNTAKE lNFORMATION SHEET
CIPS:
Name:Orlando , John Docket_#: Bed Loc: -
Race: W DOB: Ent.Date: 03/26/2016
SSNZ _ Gender: M Ent.Time: 11:44:16 AM
6 !nf_eM
|nterpretor Used Y/N N
|fyes, Name ofthe Interpretor Service
lntake Refuse Y/N N
Records Received Y/N N

 
  

 

6 AKA: Orlando,John

 

 

Client§creening Acceptéd or Declined: Accépted …

Why Dec|ined:

      

§:Y,Transfenn "'fromranotherfacl|'tyY/N ;"Nqili"_'f;i':'_,'"" ` ` n

‘\Whlch Facl|lty'7
|nsurance V/N: No lnsurance Name:

Carrier: Policy#:
l . ~ ` ' ' _Erqergency-Co`n`ta¢t, 1 '- _'

       

"Nam .' Or|ando ,awnlczak,Jean \ » ’ ` `
‘=`Addréss: N6 Emer Contact Addrem 611 Fi|e
;Ho'me Phonew ' ~ Worl<Phone -

Medica| Conditions

 

 

dlcatlonsbrought |N by |nmate ' v ._ - -` . l 6 ` __ _- .
Medications Pi|| Count Use or Destroy Comments Destroy Date

Screened by_ Lat‘nam,?eresa Page 1 0f7

AC-0890

Case 2:17-cv-00185-LPL Document 50-8 Filed 09/26/18 Page 3 018
Case 2:17-cv-00185-LPL Document 43-5 Filed 06/29/18 Page 2 of 7

Allegheny County Jail
lnmate Medical Survey Report

  
  
 

     

Na Or|and vJc>hri 4 f n w 5 c-

,i6a_1e:_; 03/2612016

 

t Gender M

 

z lnmate§tatus COUNTY`l tv f
' ' ` Medmal H1stog¢

6 A||ergles ` ` NKDA

 

   

"Doyou hawanyofthefo|iowm Symptoms‘? ' _ w

3 we1gh1Loss N j~_ Fever N Coughmg 13100<1131*» ll§*`~:_1'-’ers,'1`s.1.-=1mcough1.-=1$.1111_9_

' N1gi135weats_N_ _` Apeme'l_oss _N ' Fa116g6116e N " forZOFmOre.wee’kS'
""`LAAPPD Te'sted __ ~~'iDate 03/2612016 ‘ " ‘ *

6 |f"Pos"Treatment'? ’ ` `

;6_;_1655t PPD `Where‘?

   

 
 
  
 
 

  

3ACJP6
L.a. CXR Negative
Resuits `

 

   

 
  

_6 ;_~_ 1f 1595 `

 
 
 

wavusc'¢rés`t,Y`/N 1 ` "

6-1Hepahhs TestWhere ;',6 " '

.___Hepatitis TestRes6lt: (+) HCV 16 6 6 _6_ 6 6 _ _ 6 6 6 6
1-16ep_ Avaccme Y/_r'\_1 6 561-1ep1_3`\/`1§1:<:1111=.~ Y/N _ l Hep.\c vaccine Y/N__

_ _ '_ .Y» - " " `6 Y _' NotAn65w_ered _

,`Hepahtls Vacc_;eWhere "- ` ` ` ' ' ' ‘ '

6_Hepat1vs Vaccine When

     

    
 
 
 
  

 

__ 1'S.T_.D:Negat1ve _ 66 6 666666D6a6te:6 66
lf.-POS'~Treah'nent'? 6 6 _6 6
l DFUQ Use Posmve

_ Diq 366 complete the Hep va

 

   
 
 

x _'Frequency`fd g___ ~.,_; -' 66_
` ‘ ,AverageAmountuse-d 30 b_aQS/day 6 `

 

 
 

_ A_re you currently Pregnant° N
' Pregnancy Reéu|ts:

Surgic6a| H1stor3r » 1 v .4 -
Etoh U56e Positive. 6 j E_toh H6w |\/l6ch: " 5 16t " refused to` quantify

, La5t Use;___`
|-615ve 30_6: ever h5d 5 Selzure Y/N'PN

 

_ |tyes detal|s

Ps'yc H)c Posmve

w P  vio65_ Sulcide Attempt 6 NotAnswered "
» Smoker Ye56 -

-'How` __h? 6;` 3 packsl de_y 6
_ ;_.5 How Long_'7 ` 20 years `
'Last‘?ret5_hu5 Booster: " 3 ._ _ 3 _’ _ - Last PAP Test Date:

        

§creened by. Le‘tham,Teresa Page 2 of 7

AC-0891

 

 

Case 2:17-cv-00185-LPL Document 50-8 Filed 09/26/18 Page 4 018
Case 2:17-cv-00185-LPL Document 43-5 Filed 06/29/18 Page 3 017
Allegheny County Jail

Inrnate Medical Survey Report

 

  

fj_|fyes deta1|s - " ' " ~_ _ -»…-
-Have you ever been 5 vlctlm of Se)_cbe| abuse’? `; N '
ifyes details: ' ' ' ' ` "

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age o

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Case 2:17-cv-00185-LPL Document 50-8 Filed 09/26/18 Page 5 of 8
Case 2:17-cv-00185-LPL Document 43-5 Filed 06/29/18 Page 4 of 7

Allegheny County Jail
Inmate Medical Survey Report

.Name Orlando John

':Gender':’ M v

 

Date 03/26!2016 l `_ 7 ` `
intake Pro rees Note

Appearance ) ) Maie in nova ute distress denies any injury iri the past48 hrs.

Behaviour: ' _` hostile " ~ ; 4 l . . ..

State of Consc_l_ou_s ness_; alert, oriented x 3
";Easé of Niovement full RQM.-

 

  
 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Breathing _ ."'."'=1.5°"9'»`| ,
~Skin .:-_, intact,- denies infected lV sites
viiai signs TS"‘P !9 ' Respf
Ht: ______ Giucose: `
_Signs, Symptoms of Dentai Probiems
lf"_yes_" describe: 1 v '
Signs, symtoms or history of alcohol or drug withdrawi? ¥es
|f"yes" describe " l fucking feel like shit "
Signs symtoms or his _ ~
if "yes"describe Dlagnoses°of schizophrenia `n`> anxiety d/o reported
`MedicauonrrreatmentY/N ' N6
Medicaijon/Treatm ent Given: PPD DATE:03I2612016
D_eto`x ordered v/"N?_ ' ' ' ~ » l …Yés . -
' What? Will initiate med s for h roin l EiOH withdrawal l MD order"_,
Follow-Up Referrals:
Diabetes Other Endocrinoiogy Cardiac Coagulation
infectious Disease Asthma COPD Yes i\/ientai i-ieaith
No Seizure Disorder Other Neuro OB/GYN Yes Detox
immediate Ciinic Appointment
Disposition:
Generai Housing:Routine medical evaluation
General Housing:Expedited medical evaluation Practitioner Notiiied
iniirmary i-iousing:Expedited medical evaluation Practitioner Notitied
i\/lenta| Heaith Housing:Rouiine MH evaluation Practitioner Notified
Mentai Heaith Housing:Expedited MH evaluation Practitioner Notiiied

Referred to appropriate facility on emergency basis
Cieared to Aitemate Program

Practitioner Notiiied

   

Seizure lower level I lower bund ordered ¥/N

Consent for treatment signed Ylhl: Y k

Reason - ~ _ .
Access to care reviewed YlN Y
Rea`son: z
Grievance Process explained Y/hi ¥
Re'ason: . » - 1 `

Screened by: Latham,"i'eresa Page 4 of 7

AC-0893

 

 

Case 2:17-cv-00185-LPL Document 50-8 Filed 09/26/18 Page 6 of 8
Case 2:17-cv-00185-LPL Document 43-5 Filed 06/29/18 Page 5 of 7

Allegheny County Jail
lnmate Medical Survey Report

lmplement: CiWA N COWS N BWS_,C N

Addi`tiorial,",Commenf's`:i-,_D'e_r`iies,anv privéfélme,dioai__`iss"s:ue to'discuss_.; iVii-i referrai, opiod -/ ETOi-i d`etox ordered and`
i'niiiaied.:.:- ». -' x v `. il ,. s ' v

  
 

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AC-0894

 

 

Case 2:17-cv-00185-LPL Document 50-8 Filed 09/26/18 Page 7 of 8
Case 2:17-cv-00185-LPL Document 43-5 Filed 06/29/18 Page 6 of 7

  
  

    

Allcgheriy County Jail
Inmate Medical Survcy Report
Or;'aniio;vr;»;hvr ~' §D,Of`¢_F-- " " t D'O..B
031261:`20_16".» riirne:ii:¢_`izi:'ie_r\_Mf sender M' '

_ _ __ _ __ ` ` inmate Detaiis
wm .............. criri;¢ai obsenr'atiorir=' ___"_
UrgentlEmergency Medical Referrai Y/N N
Severe |njuer/N N Severe Pain N
Life threatening illness Y/N _____ Other Medical Observations
Head trauma with mental status changes V/N
Uncontroiied bleeding Y/N N

 

 

UrgentlEmergency Menta| health Referrai N
Active Ha||ucination V/N N _ _ __ Mentai Heaith Referrai other

AciiveiysuicidaiY/N N " " ` §
Active Deiusions YlN N i

Communicable Diseases ( Active or Suspended )

MRSAY/N N Lice/Pedicuiosis Y/N N Communicable Diseases Other
Variceiia (chicken pox) Y/N N Jaundice Y/N N reports needle marks from iV §
Herpes Zoster (Shingies) Y/N N Needie Mari<s Y/N Y _r_irug abuse _ __ __
Responsiveness __ _ __ _ Unresponsive Description

 

Aiert

 

Orierited to Person ¥/N N

Oriented to Piace Y/N N

Oriented to Time Y/N N
Mobllity Restrictionsllmp__'rmentsY/N hi __ _ _. \_ _ ,_ __ _ _ _ __
oeiorrnriyY/N N_ WneeicharrY/N " ~N» j _- _ _` `-B_ii-nd,Y/N N_ ~ ' -_ spiiniY/N .N

Ca_st`Y__/N .N; _ ` cPAPY/N "N :‘ DeaiY/N __N ' " Qnadr__ipiegicY/N r\il _
Parap|egicY/N N _¢ __ Brace _Y/N hi __ `- Crutches Y/N ` N . _ Amputation V/N N "
Do you have a learning disabilityor been placed in special education ? No `
. ii§e__e><p_en_ _

__Whatjob s_k_ills do you_ have‘? CONSTRUCTl_Q_i_‘lH
‘_ \ _ Are you veteran ofarmed services ?No _
How do you feel about being in jaii. "" i fucking hate it. "

Ge‘n¢rai-Commems; i)i`zivii£s`Ti-`i`E-i\jiEEr)A i=oR couNsEi_iNG?sEi-'<vices

Screened by'. Latiiam ,Teresa Page 6 of 7

AC-0895

 

 

Case 2:17-cv-00185-LPL Document 50-8 Filed 09/26/18 Page 8 of 8
»» Case 2:17-cv-00185-LPL Document 43-5 Filed 06/29/18 Page 7 of 7
Allegheny County Jail
lnri:iatc Medical Survey Report

Behavioral Health
Do you_ have any current mental health complaints ?Yf_
Do ycu have a historyofa mental health problem ‘?Y

Historyofoutpatienttherapy'> Y-’_ `
Within the |astyear"" Yn

History of psychotropic medication(s )? ¥

    

Historyofpsychotropic hospitalizatic_)n.?-'Y_j -~ ~ _
__ l _. » Within thelastyear ._. :N '. l
History cfSuicide attempts ? N
if so describe:

Are y_b_u thinking ofsuicide current|y?_ N
lfyes Do' you have a_ plan‘? lescribe ` `

Family or friends history cf s uicide ? N
viR`e¢'e”hi-_`si'gnin`ca_ni~_ipvs_j¢,:'(within.~ba'._=','tésix;months);?`y»»_

Do you feel like there is nothing to look N
tom/ard to (feeling hopeless / helpless) ?

' _ Haveyo,u;ever;huit youse|f'on purpose,? N’ ___
Are you thinking about hurting yourselanw ? N
1Alé§y<_iuthinking-abouthurting-milam n‘owi;?'~iv
Ever Hospitalizes for head trauma ? N

" " --i-ii`s.toryor;\'?ioi`em Behaw‘pr? 'Y _.»\ '
Historycfvictimizai:`on ? Y

* Historyofsexoffenses') iv
Comments

Screened by. Latham,'i"eresa - Page 7 of '}'

AC-0896

 

